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                                                                                          (1916-2001)
• ALSO ADMITTED [N CONNECTICUT
t ALSO ADMITTED IN VERMONT
" ALSO ADMHTED IN MASSACHUSETTS
O ALSO ADMITTED IN NEW JERSEY
-ALSO ADMITTED W MARYLAND AND DISTRICT OF COLUMBIA


                                                         May 19,2021
 VIA ECF
 Hon. Rachel P. Kovner
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
Brooklyn, New York 11201

              RE: Vasicka, et al. v. Kenvin, et al.
                          1:18-CV-06858 (RPK/SJB)

 Dear Judge Kovner:

              This firm represents the defendant Lynn Kerwin in the above matter.

        We have received this Court's Text Order of yesterday setting a June 18, 2021 deadline for
 defendants to bring a motion for summary judgment.

       Unfortunately, I am currently preparing for a jury trial which is scheduled to begin in New
York State Supreme Court, Warren County, on June 14, 2021; and which will require the dedication
of much of my time over the next several weeks. I am therefore respectfully requesting a one-month
extension of the motion filing deadlines as follows:

         • Defendants to serve their motions for summary judgment on or before July 19, 2021;
         • Plaintiff to serve her response(s) on or before August 20, 2021;and
         • Replies, if any, to be served on or before September 9,2021.

         I have discussed the circumstances precipitating this request with counsel for plaintiffs,
Gabriel Harvis, Esq., and counsel for defendant La Valley, Jim Tuttle, Esq., and they have consented
to this request.

             We thank you for your consideration.

                                                       Respectfully yours,

                                               GLEASON^ULIN .WALSH & O'SHEA

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                                                          Lisa F. Jos n
LFJ/ks
ec: Gabriel Harvis, Esq.
             James Turtle, Esq.
             Via ECF
